Case 3:22-cv-00211-SDD-SDJ         Document 240   06/27/23 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                 Civil Action No. 3:22-cv-00211-SDD-RLB
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                      Plaintiffs,

                             v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana.

                    Defendant.


EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
                     Plaintiffs,             Civil Action No. 3:22-cv-00214-SDD-RLB

                             v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana.

                Defendant.
   Case 3:22-cv-00211-SDD-SDJ              Document 240        06/27/23 Page 2 of 6




                   JOINT MOTION FOR STATUS CONFERENCE

       NOW INTO COURT, come Plaintiffs Press Robinson, Edgar Cage, Dorothy

Nairne, Edwin Rene Soule, Alice Washington, Clee Earnest Lowe, Davante Lewis, Martha

Davis, Ambrose Sims, NAACP Louisiana State Conference, and Power Coalition for

Equity and Justice (the “Robinson Plaintiffs”), and Edward Galmon, Sr., Ciara Hart, Norris

Henderson, and Tramelle Howard (the “Galmon Plaintiffs”) to request that this Court set a

status conference as soon as is practicable to discuss the resumption of this action following

the June 26, 2023 Order of the Supreme Court. See Summary Dispositions, Ardoin v.

Robinson, No. 21-1596 (June 26, 2023). Under FRCP Rule 16(a), a court may order

attorneys to appear for a conference for the purpose of, among other things, “expediting

disposition of the action” and “establishing early and continuing control so that the case

will not be protracted.”

       On June 6, 2022, and following a five-day hearing in early May 2022, this Court

granted the Plaintiffs’ Motion for Preliminary Injunction. Robinson v. Ardoin, 605 F.

Supp. 3d 759 (M.D. La.).         The Court determined that Louisiana’s congressional

redistricting map diluted the votes of Black voters in violation of Section 2 of the Voting

Rights Act of 1965, and it preliminarily enjoined Defendants from conducting any

congressional elections using that map. Id. at 766-67. The Court established a deadline

of June 20, 2022 for the Louisiana Legislature to enact a map compliant with the Court’s

decision and stated that it would enact a remedial plan if the Legislature failed to do so. Id.

       Defendants moved in the Fifth Circuit on June 9, 2022 for a stay pending appeal.

The Fifth Circuit initially entered an administrative stay of this Court’s injunction and, on

June 12, 2022, issued a 33-page opinion denying Defendants’ motion for a stay and




                                              2
   Case 3:22-cv-00211-SDD-SDJ             Document 240         06/27/23 Page 3 of 6




vacating the administrative stay, while also ordering expedited briefing for a merits panel.

See Robinson v. Ardoin, 37 F.4th 208 (5th Cir. 2022).

       Although the Governor proclaimed an Extraordinary Legislative Session on June

7, 2022 to allow for the passage of a new congressional map, the Louisiana Legislature

failed to timely enact a redistricting plan compliant with this Court’s directive. On June

17, 2022, the Court required that the parties submit briefing and proposed remedial maps

and scheduled an evidentiary hearing to be held on June 29, 2022 in order to evaluate the

proposed maps and facilitate the adoption of a remedial map. ECF No. 206. The same

day, Defendants filed an emergency application for a stay and petition for writ pending

certiorari with the United States Supreme Court, which was granted on June 28 pending

decision by the Supreme Court in Allen v. Milligan, 599 U.S. __ (2023). The grant of

certiorari by the Supreme Court paused proceedings in the Fifth Circuit and in this Court.

ECF No. 227.

       On June 8, 2023, the Supreme Court issued its decision in Allen v. Milligan. 599

U.S. __ (2023). The Supreme Court upheld the judgment of the three-judge panel in that

case that the Alabama congressional redistricting plan at issue likely violated Section 2 of

the Voting Rights Act and reaffirmed the standards that it first adopted in Thornburg v.

Gingles and that this Court applied to the present case. Id.

       The Supreme Court subsequently issued an Order on June 26, 2023 dismissing the

writ of certiorari before judgment as improvidently granted, vacating the stay, and allowing

the matter to proceed “in the ordinary course and in advance of the 2024 congressional

elections in Louisiana.” Summary Dispositions, Ardoin v. Robinson, No. 21-1596 (June




                                             3
   Case 3:22-cv-00211-SDD-SDJ              Document 240        06/27/23 Page 4 of 6




26, 2023). The dismissal of certiorari and lifting of the Supreme Court’s stay allows this

Court to resume its proceedings regarding the remedial maps.

       Accordingly, the Robinson and Galmon Plaintiffs respectfully request that the

Court schedule a status conference at its earliest convenience in order to establish a timeline

for resuming the process for establishing the remedial maps, including but not limited to

(i) entering a schedule for supplemental briefing and remedial maps; and (ii) setting forth

a date for an evidentiary hearing to resume consideration of the maps.



Date: June 27, 2023                            Respectfully submitted,

                                               By: /s/John Adcock
                                                  John Adcock
                                                  Adcock Law LLC
                                                  L.A. Bar No. 30372
                                                  3110 Canal Street
                                                  New Orleans, LA 70119
                                                  Tel: (504) 233-3125
                                                  jnadcock@gmail.com




                                              4
  Case 3:22-cv-00211-SDD-SDJ          Document 240      06/27/23 Page 5 of 6




Leah Aden (admitted pro hac vice)             Robert A. Atkins (admitted pro hac vice)
Stuart Naifeh (admitted pro hac vice)         Yahonnes Cleary (admitted pro hac vice)
Victoria Wenger (admitted pro hac vice)       Jonathan H. Hurwitz (admitted pro hac
NAACP Legal Defense and Educational           vice)
Fund, Inc.                                    Amitav Chakraborty (admitted pro hac
40 Rector Street, 5th Floor                   vice)
New York, NY 10006                            Adam P. Savitt (admitted pro hac vice)
Tel: (212) 965-2200                           PAUL, WEISS, RIFKIND, WHARTON &
laden@naacplef.org                            GARRISON LLP
snaifeh@naacpldf.org                          1285 Avenue Of The Americas, New
vwenger@naacpldf.org                          York, NY 10019
                                              Tel.: (212) 373-3000
R. Jared Evans                                Fax: (212) 757-3990
LA. Bar No. 34537                             ratkins@paulweiss.com
I. Sara Rohani (admitted pro hac vice)        ycleary@paulweiss.com
NAACP Legal Defense and Educational           jhurwitz@paulweiss.com
Fund, Inc.                                    achakraborty@paulweiss.com
700 14th Street N.W. Ste. 600                 asavitt@paulweiss.com
Washington, DC 20005
Tel: (202) 682-1300
jevans@naacpldf.org
srohani@naacpldf.org

Nora Ahmed (admitted pro hac vice)            T. Alora Thomas (admitted pro hac vice)
LA. Bar No. 33382                             Sophia Lin Lakin (admitted pro hac vice)
ACLU Foundation of Louisiana                  American Civil Liberties Union
1340 Poydras St, Ste. 2160                    Foundation
New Orleans, LA 70112                         125 Broad Street, 18th Floor
Tel: (504) 522-0628                           New York, NY 10004
nahmed@laaclu.org                             athomas@aclu.org
msnider@laaclu.org                            slakin@aclu.org
                                              sosaki@aclu.org
Tracie L. Washington
LA. Bar No. 25925                             Sarah Brannon (admitted pro hac vice)
Louisiana Justice Institute                   American Civil Liberties Union
Suite 132                                     Foundation
3157 Gentilly Blvd                            915 15th St., NW
New Orleans LA, 70122                         Washington, DC 20005
Tel: (504) 872-9134                           sbrannon@aclu.org
tracie.washington.esq@gmail.com

                                              Counsel for Robinson Plaintiffs




                                          5
 Case 3:22-cv-00211-SDD-SDJ     Document 240    06/27/23 Page 6 of 6




J. E. Cullens, Jr.                    /s/ Abha Khanna
Andrée Matherne Cullens               Abha Khanna (admitted pro hac vice)
S. Layne Lee                          Jonathan P. Hawley (admitted pro hac
WALTERS, PAPILLION, THOMAS,           vice)
CULLENS, LLC                          ELIAS LAW GROUP LLP
12345 Perkins Road, Bldg. One         1700 Seventh Ave. Suite 2100
Baton Rouge, LA 70810                 Seattle, Washington 98101
(225) 236-3636                        (206) 656-0177
                                      akhanna@elias.law

                                      Lalitha D. Madduri (admitted pro hac vice)
                                      Jacob D. Shelly (admitted pro hac vice)
                                      ELIAS LAW GROUP LLP
                                      250 Massachusetts Ave, NW Suite 400
                                      Washington, D.C. 20001
                                      (202) 968-4490

                                      Counsel for Galmon Plaintiffs




                                  6
